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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ANNE KIRKPATRICK,                                    Case No. 20-cv-05843-JSC
                                                          Plaintiff,
                                   8
                                                                                              ORDER RE: OBJECTIONS TO
                                                   v.                                         DEPOSITION DESIGNATIONS
                                   9

                                  10     CITY OF OAKLAND, CALIFORNIA,                         Re: Dkt. No. 178
                                                          Defendant.
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                                  12
Northern District of California
 United States District Court




                                  13      A. VIRGINIA GLEASON DESIGNATIONS

                                  14          1.        Exhibit 202 and any testimony regarding the exhibit is excluded as irrelevant and to

                                  15   the extent there is any relevancy, it is outweighed by its danger of unfair prejudice.

                                  16          2.        Plaintiff’s designation of testimony regarding why Ms. Kirkpatrick thought she did

                                  17   not get the Memphis position is excluded.

                                  18          3.        Pages 173-180 objections by both parties sustained.

                                  19          5.        Page 181:13-16 objection overruled.

                                  20          6.        Pages 181:23 to 185 objections by both parties sustained.

                                  21          7.        Pages 234 to 236, 238 objections by both parties overruled.

                                  22          8.        Page 241 to 242, 250-251, 276-281, 285-291, 302-303 objections sustained.

                                  23      B. CHIEF ARMSTRONG DESIGNATIONS

                                  24          1.        Pages 26 to 29, 32 to 34, 61 objections overruled.

                                  25          2.        Pages 70 to 72:7, objection overruled.

                                  26          3.        Pages 79-87, 102-103 objections by both parties sustained.

                                  27          4.        Pages 119-120 objection overruled.

                                  28          5.        Pages 124-125 objection sustained.
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                                   1         6.     Pages 126 to 130:5 objection overruled.

                                   2         7.     Pages 130 to 131 objection sustained.

                                   3         8.     Pages 138:1-12 objection sustained.

                                   4         9.     Pages 138:14 to 144:6 objections overruled.

                                   5         10.    Page 144:11-15, objection sustained.

                                   6         11.    Page 145 objection sustained.

                                   7         IT IS SO ORDERED.

                                   8   Dated: May 25, 2022

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                                                                                                  JACQUELINE SCOTT CORLEY
                                  10                                                              United States District Judge
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                                  12
Northern District of California
 United States District Court




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